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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOSEPH L. OLLIE,                             )
                                             )
                      Plaintiff,             )
                                             )       CIVIL ACTION No. 17-120 Erie
       v.                                    )
                                             )
DR. JOHN LUBAHN, M.D., et al.,               )
                                             )
                      Defendants.            )


                                    MEMORANDUM ORDER

       Plaintiff commenced this civil action by filing a motion for leave to proceed in forma

pauperis with the Clerk of Court on May 11, 2017. Thereafter, the case was assigned to U.S.

Magistrate Judge Susan Paradise Baxter for pretrial proceedings in accordance with the

Magistrate Judges Act, 28 U.S.C. §636(b)(1), and Local Rules of Court 72.C and 72.D. On

December 5, 2017, the undersigned was assigned as the presiding judge, and Magistrate Judge

Baxter became the referred judge.

       The magistrate judge's Report and Recommendation (ECF No. 8), filed on December 7,

2017, recommended that the instant case be dismissed for plaintiff’s failure to prosecute.

Plaintiff was served with the Report and Recommendation via First Class, U.S. Mail, at Elkton

Federal Correctional Institution, where he is currently incarcerated. Plaintiff was informed that,

in accordance with the Magistrate Judges Act, 28 U.S.C. § 636(b)(1)(B) and (C), and Federal

Rule of Civil Procedure 72(b)(2), he had fourteen (14) days within which to file any objections.

As of this date, no objections to the Report and Recommendation have been filed.

       After de novo review of the pleadings and documents in the case, together with the

Report and Recommendation, the following Order is entered:



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        AND NOW, this 4th day of January, 2018,

        IT IS HEREBY ORDERED that the instant case is DISMISSED without prejudice

for plaintiff’s failure to prosecute.

        IT IS FURTHER ORDERED that the Clerk of Court mark this case “CLOSED.”

        IT IS FURTHER ORDERED that the December 7, 2017 Report and Recommendation

of Magistrate Judge Baxter (ECF No. 8) is adopted as the opinion of the court.

        AND IT IS FURTHER ORDERED that, pursuant to Rule 4(a)(1) of the Federal Rules

of Appellate Procedure, if plaintiff wishes to appeal from this Order, a notice of appeal as

provided in Federal Rule of Appellate Procedure 3 must be filed with the Clerk of Court, United

States District Court, at 17 South Park Row, Room A-150, Erie, PA 16501, within thirty (30)

days.



                                                             BY THE COURT:


                                                             /s/ Joy Flowers Conti
                                                             Joy Flowers Conti
                                                             Chief United States District Judge

cc:     Joseph Ollie

        33453068
        Elkton Federal Correctional Institution (FSL)
        Inmate Mail/Parcels
        P.O. Box 10
        Elkton, OH 44432




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